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lN THE UNITED sTATEs DISTRlCT COURT W V
WESTERN I)ISTRICT oF TENNESSEE 95 …‘f 3 § PH 6= 56
WESTERN DIvIsIoN

 

NATHANIEL ANTHONY,
Pfaintiff,

V. Civil Action No. 05-2252 D

SHELBY COUNTY HEALTH CARE
CORPORATION d/bfa THE REGIONAL
MEDICAL CENTER AT MEMPHIS
SABRINA LUCKETT, AND

NANCY BANKS,

`-/`-/\_V\_/\_F\-/'~.i'-/‘\-/V\_V‘_/V

Defendants.

 

STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

 

Pursuant to Rule 41 of the Federal Rules of Civil Proceclure, Plaintiff and Defendants
Stipulate that this action be dismissed With prejudice, and it is therefore
ORDERED that this action be and is hereby DISMISSED with prejudice

ENTER; This 3/ day 0fMay,2005.

     

ERNICE B IE DONALD
United States District .]udge

 

T'wls document entered on the docket sheet in compliance
with Rule 58 and/or 79(a) FRCP on

Case 2:05-cV-02252-BBD-tmp Document 4 Filed 05/31/05 Page 2 of 3 Page|D 12

STIPULATED TO:

WMM B@@M

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fhwa

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This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02252 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

